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   10
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   12
                             UNITED STATES DISTRICT COURT
   13
                           CENTRAL DISTRICT OF CALIFORNIA
   14

   15   IN RE: NATIONAL FOOTBALL                 Case No. 2:15-ml-02668-PSG (SKx)
        LEAGUE’S “SUNDAY TICKET”
   16   ANTITRUST LITIGATION
                                                 PLAINTIFFS’ APPLICATION
   17   THIS DOCUMENT RELATES TO                 UNDER LOCAL RULE 79-5 TO
        ALL ACTIONS                              FILE DOCUMENTS UNDER SEAL
   18
                                                 JUDGE: Hon. Philip S. Gutierrez
   19                                            DATE: May 17, 2024
                                                 TIME: 10:00 a.m.
   20                                            COURTROOM: First Street Courthouse
                                                            350 West 1st Street
   21                                                       Courtroom 6A
                                                            Los Angeles, CA 90012
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    1         TO THE ABOVE-CAPTIONED COURT AND TO DEFENDANTS AND
    2   THEIR COUNSEL OF RECORD:
    3         PLEASE TAKE NOTICE that pursuant to Local Rule 79-5.2.2(b), Plaintiffs,
    4   by and through their counsel of record, hereby submit this application requesting
    5   that the Court lodge provisionally under seal the following documents (lodged
    6   concurrently herewith):
    7         1.    The sealed Declaration of Ian M. Gore in Support of Plaintiffs’
    8               Application Under Local Rule 79-5 to File Documents Under Seal.
    9         2.    The unredacted version of the Memorandum in Opposition to the NFL
   10               Defendants’ Motion to Quash Plaintiffs’ Trial Subpoena.
   11         3.    The sealed version of Exhibit 2 to the Declaration of Ian M. Gore in
   12               Support of Plaintiffs’ Opposition to the NFL Defendants’ Motion to
   13               Quash Plaintiffs’ Trial Subpoena.
   14         4.    The sealed version of Exhibit 3 to the Declaration of Ian M. Gore in
   15               Support of Plaintiffs’ Opposition to the NFL Defendants’ Motion to
   16               Quash Plaintiffs’ Trial Subpoena.
   17         Pursuant to correspondence regarding confidentiality issues, along with the
   18   parties’ past practices regarding confidentiality issues, and because the redacted or
   19   sealed information references or contains materials designated as CONFIDENTIAL
   20   or HIGHLY CONFIDENTIAL pursuant to the protective order in this matter, the
   21   NFL Defendants requested that Plaintiffs move the Court to seal and redact the
   22   designated documents or portions thereof.
   23

   24   DATED: April 26, 2024           By: /s/ Ian M. Gore
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